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                     IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF UTAH


 UNITED STATES OF AMERICA,                       Case No. 2:23-cr-00010-HCN

                 Plaintiff,                      UNITED STATES’ POSITION
                                                 REGARDING DETENTION
 v.

 PLASTIC SURGERY INSTITUTE OF
 UTAH, INC.; MICHAEL KIRK MOORE
 JR.; KARI DEE BURGOYNE; KRISTIN
 JACKSON ANDERSEN; AND
 SANDRA FLORES,
                                                 Judge Howard C. Nielson, Jr.
                 Defendant.
                                                 Magistrate Judge Jared C. Bennett



☒     The United States is not seeking pretrial detention. But the United States is
seeking some conditions of release.

                                  Background and Charges

      Defendants
      This case involves five defendants:
         1. Plastic Surgery Institute of Utah, Inc.;
         2. [Dr.] Michael Kirk Moore Jr.;
         3. Kari Dee Burgoyne;
       4. Kristin Jackson Andersen; and
       5. Sandra Flores.

   Charges
       The defendants are charged with three counts of:
   (1) Conspiracy to Defraud the United States, in violation of 18 U.S.C. § 371;
   (2) Conspiracy to Convert, Sell, Convey, and Dispose of Government Property, in
       violation of 18 U.S.C. §§ 371 and 641; and
   (3) Conversion, Sale, Conveyance, and Disposal of Government Property, in violation
       of 18 U.S.C. § 641 and § 2.
   Details
       The defendants conspired to obstruct the United States’ COVID-19 vaccination
program by setting up an elaborate system to distribute vaccination record cards out of the
Plastic Surgery Institute of Utah, Inc. without administering a single vaccine. They
ultimately wasted, and improperly disposed of, at least 1,937 doses of COVID-19 vaccines.
They also sold, conveyed, and converted at least 1,937 doses’ worth of COVID-19
vaccination record cards to hundreds of persons without administering a vaccine to them.
        The Plastic Surgery Institute of Utah, Inc. (the “Plastic Surgery Institute”) is a Utah
corporation with a medical office in Midvale, Utah. The Plastic Surgery Institute provides
plastic surgery services to patients.
        Dr. Michael Kirk Moore Jr. (“Dr. Moore”) owns the Plastic Surgery Institute. He is
also a board-certified plastic surgeon who works at the Institute. Dr. Moore directed the
scheme underlying the charges in this case through his office manager, Kari Dee Burgoyne
(“Burgoyne”). Together with Dr. Moore, Burgoyne arranged for the Plastic Surgery
Institute to obtain from the Centers for Disease Control and Prevention (the “CDC”) at
least 2,200 COVID-19 vaccines along with their accompanying CDC COVID-19
vaccination record cards. Burgoyne also took orders from Dr. Moore and generally
oversaw the logistics and implementation of the vaccine-obstruction scheme. She hired and
directed employees to participate in the scheme. She also directed persons seeking to obtain
COVID-19 vaccination record cards without receiving a vaccine (“Fraudulent Vax Card
Seekers”) to go through Kristin Jackson Andersen (“Andersen”).
      Andersen was not an employee of the Plastic Surgery Institute. But she was Dr.
Moore’s neighbor, and both she and Dr. Moore belonged to an organization that opposed
COVID-19 vaccines. In agreement with Dr. Moore and Burgoyne, Andersen screened
Fraudulent Vax Card Seekers for referrals via text messages and required them to make


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“donations” to a specified charity before they could set up an appointment to obtain a
COVID-19 vaccination record card without receiving a vaccine.
       Sandra Flores (“Flores”) worked as a receptionist at the Plastic Surgery Institute.
She distributed COVID-19 vaccination record cards to Fraudulent Vax Card Seekers
without administering vaccines to them. Along with the other defendants, Flores also
knowingly administered or caused to be administered saline shots to minors in order to
trick them into mistakenly thinking they had been vaccinated before they received a
COVID-19 vaccination record card, even though they had not been.
       Defendants destroyed or caused to be destroyed at least 1,937 doses’ worth of
COVID-19 vaccines. Defendants also uploaded or caused to be uploaded the names of
Fraudulent Vax Card Seekers to the Utah Statewide Immunization Information System to
falsely report that persons had received at least 1,937 doses’ worth of COVID-19 vaccines
from the Plastic Surgery Institute, even though Defendants knew that none of the persons
had actually received a COVID-19 vaccine from the Institute.
        As part of their scheme, Defendants wasted and improperly disposed of at least
$28,028.50 worth of COVID-19 vaccines. They also sold, conveyed, and converted at least
$96,850 worth of COVID-19 vaccination record cards. (The value of the vaccination record
cards is based on a market value of $50 per fraudulent vaccine dose notation, which is the
price the defendants charged for each fraudulent notation.) The total loss amount from the
defendants’ criminal activity is at least $124,878.50.
                             Proposed Conditions of Release

       The United States takes these charges seriously. However, Defendants have limited
criminal history, and the United States believes that if the Court were to impose appropriate
conditions of release, Defendants would likely not pose a further danger to the public. See
18 U.S.C. §§ 3142(d)(2) and 3142(c)(1)(B). Nor do any of the Defendants appear to be a
serious flight risk. See 18 U.S.C. § 3142(f)(2)(A).

      Therefore, the United States is not seeking pretrial detention of Defendants.
Instead, the United States will request that Defendants be released on conditions to
reasonably assure their appearance for trial and to protect the safety of others and
the community pending their trial. 18 U.S.C. §§ 3142(a)(2), (c)(1)(B). In particular,
the United States requests that each individual defendant be ordered:

       1. Not to change their address without court approval (18 U.S.C. §
          3142(c)(1)(B)(xiv));

       2. To surrender his or her passport (if any) and not to obtain or apply for another
          passport (18 U.S.C. §§ 3142(c)(1)(B)(iv) and (c)(1)(B)(xiv));



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       3. To report monthly to a pretrial services probation officer from this district. (18
          U.S.C. § 3142(c)(1)(B)(vi));

       4. To maintain or actively seek employment (18 U.S.C. § 3142(c)(1)(B)(ii));

       5. Not to commit a Federal, State, or local crime during the defendant’s release (18
          U.S.C. § 3142(c)(1)(A));

      6. Not to leave the State of Utah without prior permission from the pretrial officer
         and not to leave the United States without prior approval from the Court (18
         U.S.C. § 3142(c)(1)(B)(iv)); and

      7. Not to discuss the case with other defendants (18 U.S.C. § 3142(c)(1)(B)(iv), (v)
         and (xiv)).

       The United States further requests the following additional conditions of
release be imposed on all defendants—including both the individual defendants and
the Plastic Surgery Institute of Utah, Inc.

       8. Surrender all COVID-19 vaccines and vaccination record cards to the Utah
          Department of Health within 2 days (18 U.S.C. § 3142(c)(1)(B)(xiv)); and

       9. Not distribute or convey any COVID-19 vaccination record cards to anyone
          other than the Utah Department of Health (18 U.S.C. § 3142(c)(1)(B)(xiv)).



      The United States also requests that the Defendant Plastic Surgery Institute of
Utah, Inc. be subject to the following additional condition of release:

       10. Not make any non-business-related transfers without prior approval by a pretrial
           officer (18 U.S.C. §3142(c)(1)(B)(xiv)) (necessary to ensure the Plastic Surgery
           Institute maintains funds to pay a potential fine of $360,000 to $720,000 [USSG
           §§ 8C2.1(a), 8C2.4(a), 8C2.5(a),(b)(5), 8C2.6, and 8C2.7]).



☐      Detention is not at issue because this is an immigration reentry case where the
defendant has opted to participate in the fast-track program, which includes agreeing to
detention for the pendency of this case.

☐      The United States moves for detention based on current information. The United
States’ positions in this preliminary pleading could change after reviewing the Pretrial
Report or learning of additional evidence. The United States reserves the right to assert
positions even if the boxes next to those positions are not checked below, raise additional

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arguments, and file additional pleadings in support of detention. The United States’ motion
for detention is:

☐ Pursuant to 18 U.S.C. § 3142(f)(1) because defendant is charged with:
      ☐ (A) a crime of violence (see 18 U.S.C. § 3156(a)(4)), a violation of 18 U.S.C. §
        1591 (sex trafficking of children), or an offense under § 2332b(g)(5)(B) (specific
        enumerated crimes) for which a maximum term of imprisonment of 10 years or
        more is prescribed; or
      ☐ (B) an offense for which the maximum sentence is life imprisonment or death;
        or
      ☐ (C) an offense for which a maximum term of imprisonment of 10 years or more
        is prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-904), the
        Controlled Substances Import and Export Act (21 U.S.C. §§ 951-971), or
        Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
      ☐ (D) any felony if the defendant has been convicted of two or more offenses
        described in (a) through (c) above, or two or more State or local offenses that
        would have been offenses described in (a) through (c) above if a circumstance
        giving rise to Federal jurisdiction had existed, or a combination of such offenses;
        or
      ☐ (E) any felony that is not otherwise a crime of violence but involves: (i) a minor
        victim; (ii) the possession or use of a firearm or destructive device (as defined in
        18 U.S.C. § 921); (iii) any other dangerous weapon; or (iv) a failure to register
        under 18 U.S.C. § 2250;

                OR

☐ Pursuant to 18 U.S.C. § 3142(f)(2) because the case involves:

       ☐ (A) a serious risk the defendant will flee; or
       ☐ (B) a serious risk the defendant will obstruct or attempt to obstruct justice, or
         threaten, injure, intimidate, attempt to threaten, injure or intimidate a prospective
         witness or juror.
                                   Procedure

       The defendant may seek a continuance of the detention hearing of up to five days,
and the United States may seek a continuance of up to three days. 18 U.S.C. § 3142(f).
During any such continuance, the defendant shall be detained. Id. The rules concerning the
admissibility of evidence do not apply at the detention hearing. Id. The United States has
the burden of persuasion by clear and convincing evidence that no condition or
combination of conditions of release will reasonably assure the safety of any other person

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and the community or by a preponderance of evidence that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance as required. Id.;
United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003).

                               Rebuttable Presumption

☐ A rebuttable presumption applies, and the defendant bears the burden to produce some
  credible evidence to rebut this presumption. The United States acknowledges that it
  retains the burden of persuasion. The statutory presumption applies:
      ☐ Pursuant to 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
       presumption that no condition or combination of conditions will reasonably
       assure the safety of any other person and the community because:
            (A) the defendant has previously been convicted of a Federal offense that is
                described in 18 U.S.C. § 3142(f)(1), or of a State or local offense that
                would have been such an offense if a circumstance giving rise to Federal
                jurisdiction had existed; and
            (B) the defendant committed that offense while on release pending trial for a
                Federal, State, or local offense; and
            (C) a period of not more than five years has elapsed since the date of
                conviction, or the release of the defendant from imprisonment, for that,
                whichever is later.
      ☐ Pursuant to 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is
        a rebuttable presumption that no condition or combination of conditions will
        reasonably assure the appearance of the defendant as required and the safety of
        the community because there is probable cause to believe that the defendant
        committed one or more of the following offenses:
         ☐ (A) an offense for which a maximum term of imprisonment of 10 years or
             more is prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-904),
             the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-971),
             or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
         ☐ (B) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
           ☐ (C) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum
             term of imprisonment of 10 or more is prescribed;
           ☐ (D) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-
             1597) for which a maximum term of imprisonment of 20 years or more is
             prescribed; or
           ☐ (E) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591,
             2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2),


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               2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260,
               2421, 2422, 2423, or 2425.

                                Factors to Be Considered

       The United States may present arguments, proffer evidence, or provide testimony at
the scheduled detention hearing supporting the detention of the defendant including, but
not limited to:
☐ The nature and circumstances of the offense charged, including whether the offense is
  a crime of violence, a violation of section 1591, a Federal crime of terrorism, or involves
  a minor victim or a controlled substance, firearm or destructive device. (18 U.S.C. §
  3142(g)(1)).
☐ The weight of evidence against the defendant. (18 U.S.C. § 3142(g)(2)).
☐ The history and characteristics of the defendant including the defendant’s character,
  physical and mental condition, family ties, employment, financial resources, length of
  residence in the community, community ties, past conduct, history relating to drug or
  alcohol abuse, criminal history and record concerning court proceedings. (18 U.S.C. §
  3142(g)(3)(A)).
☐ Whether, at time of the current offense or arrest, the defendant was on probation, parole,
  or other release pending trial, sentencing, appeal, or completion of sentence for an
  offense under Federal, State, or local law. (18 U.S.C. § 3142(g)(3)(B)).
☐ The nature and seriousness of danger to any person or to the community that would be
  posed by the defendant’s release. (18 U.S.C. § 3142(g)(4)).
☐ The defendant’s lack of legal status in the United States. The defendant’s legal status
  is:
☐ How the defendant would be subject to removal or deportation after serving a period
  of incarceration.
☐ The defendant’s significant family or other ties outside of the United States.
☐ The defendant’s use of aliases or false documents.
☐ The defendant’s prior attempts to evade law enforcement.
☐ How the defendant’s proposed residence, employment, or proposed treatment programs
  have not been verified.
☐ The defendant’s prior failures to appear for court proceedings.
☐ Other reasons including:




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                                   Victim Notification

☒ The United States has notified any identified victim, or attempted to do so, pursuant to
  18 U.S.C. § 3771.

      The position of the victim(s) on the detention of the defendant is: consistent with
the United States’ position.
      ☐ The victim(s) in this matter seek(s) a no contact order.

☐ This matter does not involve a victim requiring notification.


DATED this 19th day of January, 2023.

/s/ Todd C. Bouton
TODD C. BOUTON
Assistant United States Attorney




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